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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHRISTINA TAYLOR, on her own behalf and                             2:24-cv-5835
                                                   Civil Action No. __________________
as a Parent and Natural Guardian of I.H., a
Minor,                                                  (Formerly Case ID No. 220302606, Court of
                                                        Common Pleas Philadelphia County)
                Plaintiffs,
        v.
MEAD JOHNSON & COMPANY, LLC;                         NOTICE OF REMOVAL AND
MEAD JOHNSON NUTRITION COMPANY;                      REMOVAL OF ACTION UNDER 28
and ABBOTT LABORATORIES,                             U.S.C. § 1441 BY DEFENDANT
                                                     ABBOTT LABORATORIES
                Defendants.


        PLEASE TAKE NOTICE THAT Defendant Abbott Laboratories (“Abbott”) hereby

 removes the above-captioned action from the First Judicial District of Pennsylvania, Court of

 Common Pleas of Philadelphia County, Case ID No. 220302606, to the United States District

 Court for the Eastern District of Pennsylvania pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446.

 In support of this Notice of Removal, Abbott states the following:

                              NATURE OF REMOVED ACTIONS

        1.      Plaintiff Christina Taylor commenced this action in the First Judicial District of

 Pennsylvania, Court of Common Pleas of Philadelphia County, captioned Christina Taylor v.

 Mead Johnson & Company, LLC, et al., bearing Case ID No. 220302606. A true and correct copy

 of plaintiff’s Complaint, along with a copy of all process, pleadings, and orders filed and served

 upon Abbott, are attached hereto as Exhibits A-1–98.

        2.      This action involves product liability claims arising from infant I.H. allegedly

 developing necrotizing enterocolitis (“NEC”) after being born prematurely on October 9, 2010.

 Plaintiff alleges that Abbott’s and/or Mead Johnson’s cow’s milk-based preterm infant formula

 and/or human milk fortifier products caused I.H. to develop NEC.
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        3.      Plaintiff asserts the following causes of action against Abbott and defendants Mead

Johnson & Company, LLC and Mead Johnson Nutrition Company (“Mead Johnson”): (1) strict

liability for design defect (Count I); (2) strict liability for failure to warn (Count II); (3) negligence

(Count III); (4) intentional misrepresentation (Count IV); and (5) negligent misrepresentation

(Count V).

        4.      This action is one of many cases that have been filed in both federal and state courts

across the country in which the plaintiffs allege that Abbott’s and/or Mead Johnson’s specialized

preterm infant formula and/or human milk fortifiers caused their premature infants to develop

NEC. On April 8, 2022, the United States Judicial Panel on Multidistrict Litigation, pursuant to

28 U.S.C. § 1407, issued an order directing that the then-pending federal cases be transferred and

coordinated for pretrial proceedings before the Honorable Rebecca R. Pallmeyer in the United

States District Court for the Northern District of Illinois. See In re Preterm Infant Nutrition Prods.

Liab. Litig., MDL No. 3026, Dkt. 119 (N.D. Ill. Apr. 8, 2022) (hereinafter, “MDL 3026”).

        5.      Abbott intends to promptly seek the transfer of this action to MDL 3026 and will

shortly provide the JPML with notice of this action pursuant to the procedure for tag-along actions

set forth in the JPML Rules.

        6.      As more fully set forth below, removal to this Court is proper pursuant to 28 U.S.C.

§ 1441 because Abbott has met the procedural requirements for removal and this Court has subject

matter jurisdiction over this action pursuant to 28 U.S.C. § 1332.

             THE PROCEDURAL REQUIREMENTS FOR REMOVAL ARE MET

        7.      Plaintiff filed this action in state court on or about March 24, 2022. Abbott’s

registered agent was served with the Complaint via process server on or about April 19, 2022.

Mead Johnson, which was served on or about April 15, 2022, has consented to removal.



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       8.      On October 21, 2024, the Court of Common Pleas dismissed with prejudice

plaintiff’s claims against former co-defendants Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine. See Ex. A-98 (“This Court has reviewed the Complaint and

taken as true the scant factual averments plead therein and agrees with the defendant hospital

system that the claims plead by plaintiff against the hospital based on the facts alleged, are not

recognized under Pennsylvania law and do not set forth a prima facie case under any recognized

claim against the hospital system”).

       9.      This Notice of Removal is being filed within 30 days of that order, which dismissed

the only in-state defendants from the case. See 28 U.S.C. § 1446(b)(3). Those defendants were

fraudulently joined in this action, as plaintiff’s claims against them were wholly insubstantial and

plaintiff had no real intention in good faith to prosecute the action against them. For similar

reasons, plaintiff acted in bad faith by naming them to prevent Abbott from removing the case.

This Notice of Removal is therefore timely. See id.; § 1446(c)(1).

       10.     Pursuant to 28 U.S.C. § 1441(a), this Notice of Removal is being filed in the United

States District Court for the Eastern District of Pennsylvania. The United States District Court for

the Eastern District of Pennsylvania is the proper division to which this action should be assigned

because it is the federal district court embracing the First Judicial District of Pennsylvania, Court

of Common Pleas of Philadelphia County, where plaintiff’s action is pending. See 28 U.S.C.

§ 1441(a); see also id. § 118(a).

   THIS COURT HAS SUBJECT MATTER JURISDICTION UNDER 28 U.S.C. § 1332

       11.     This Court has original jurisdiction over this action under 28 U.S.C. § 1332(a)(1),

because this is an action between citizens of different States and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

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        A.      There Is Complete Diversity Of Citizenship.

        12.     On information and belief, plaintiff is a citizen of Delaware and was so at all

relevant times, thereby making plaintiff a citizen of Delaware for diversity purposes. 2d Am.

Compl. ¶ 3.

        13.     For diversity jurisdiction purposes, a corporation is a citizen of the state in which it

is incorporated and the state in which its principal place of business is located. 28 U.S.C.

§ 1332(c)(1).

        14.     For diversity jurisdiction purposes, a limited liability company carries the

citizenship of each of its members. Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d

Cir. 2015).

        15.     Defendant Abbott was at the time of filing of the Complaint, and has been at all

intervening times, a corporation organized under the laws of the State of Illinois, with its principal

place of business in the State of Illinois.

        16.     Defendant Mead Johnson Nutritional Company is a wholly-owned subsidiary of

Reckitt Benckiser PLC and is now, and was at the time plaintiff commenced this action, a

corporation organized under the laws of the State of Delaware, with its principal place of business

in the State of Indiana. It is thus a citizen of those two states.

        17.     Defendant Mead Johnson & Company, LLC is a limited liability company whose

sole member is Mead Johnson Nutritional Company, and is therefore a citizen of the States of

Delaware and Indiana.

        18.     Defendants Mead Johnson Nutritional Company and Mead Johnson & Company,

LLC are fraudulently joined in this action, as plaintiff failed to allege that any specific Mead

Johnson product was administered to her premature infant, and plaintiff’s claims against Mead



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Johnson are wholly insubstantial. Their citizenship should therefore be disregarded for purposes

of assessing diversity.

       19.     Because plaintiff is a citizen of Delaware and Abbott is not, the parties are of

diverse citizenship pursuant to 28 U.S.C. § 1332(a).

       B.      The Amount In Controversy Exceeds $75,000.

       20.     Where, as here, “Pennsylvania does not permit a demand for a specific sum, and

the plaintiff seeks open-ended damages in excess of $50,000,” defendants “must prove by a

preponderance of the evidence that the plaintiff’s claims exceed $75,000.” Goldfarb v. Kalodimos,

539 F. Supp. 3d 435, 449 (E.D. Pa. 2021) (internal quotation omitted). Punitive damages are

properly considered in addition to compensatory damages when determining whether the

jurisdictional amount has been satisfied. Id. at 450; Packard v. Provident Nat. Bank, 994 F.2d

1039, 1046 (3d Cir. 1993). Claims for punitive damages “will generally satisfy the amount in

controversy requirement because it cannot be stated to a legal certainty that the value of the

plaintiff’s claim is below the statutory minimum.” Huber v. Taylor, 532 F.3d 237, 244 (3d Cir.

2008) (internal quotation omitted). For that reason, “courts in this District hold that the amount in

controversy requirement is met when a punitive to compensatory damages ratio of at least 1-to-1

exceeds the $75,000 threshold.” Goldfarb, 539 F. Supp. 2d at 450.

       21.     Plaintiff’s prayer for compensatory and punitive damages, along with the

allegations in the Complaint, establish the amount in controversy exceeds $75,000. For each of

the causes of action against Abbott, plaintiff demands compensatory damages “in excess of

$50,000” in addition to punitive damages “in excess of $50,000.” 2d Am. Compl. ¶¶ 116(a),

(d), 124(a), (d), 133(a), (d), 143(a), (d), 153(a), (d). Those damages allegedly stem from “injuries,

including but not limited to, a diagnosis of NEC, treatment with surgery and resection of a portion

of her bowels, short gut syndrome secondary to NEC, intestinal and feeding difficulties,

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neurological issues, left lower extremity amputation at the forearm” and “continue[d]

developmental delays and feeding difficulties secondary to bowel resection and short gut

syndrome.” Id. ¶ 22. Even a 1-to-1 ratio of punitive damages to the compensatory damages

requested would satisfy the jurisdictional threshold. Plaintiff also demands unspecified amounts

of non-economic damages, lost income, out-of-pocket costs, lost earning capacity, medical costs,

and attorney’s fees. 2d Am. Compl. ¶¶ 116(b)–(c), 124(b)–(c), 133(b)–(c), 143(b)–(c), 153(b)–

(c). The amount in controversy therefore exceeds $75,000. Abbott makes this assertion in good

faith based on plaintiff’s requests for relief and her alleged injuries.

                                 NON-WAIVER OF DEFENSES

        22.     By filing this Notice of Removal, Abbott does not waive any available defenses,

including, but not limited to, personal jurisdiction or venue. McCurtain Cnty. Prod. Corp. v.

Cowett, 482 F. Supp. 809, 813 (E.D. Okla. 1978) (“[A] defendant waives nothing by removing the

case and may move to dismiss for lack of personal jurisdiction after the removal”) (citing 14

Charles Alan Wright, Arthur R. Miller & Edward H. Cooper, Federal Practice and Procedure:

Jurisdiction § 3738 at 749–50 (1976)).

                                           CONCLUSION

        23.     Complete diversity exists between plaintiff, a citizen of Pennsylvania, and

defendant Abbott, a citizen of Illinois. The amount in controversy exceeds $75,000. Accordingly,

this Court has original jurisdiction over this action under 28 U.S.C. § 1332(a).

        24.     Abbott will provide plaintiff with prompt written notice of the filing of this Notice

of Removal as required by 28 U.S.C. § 1446(d), and will file a copy of this Notice of Removal

with the First Judicial District of Pennsylvania, Court of Common Pleas, Philadelphia County,

where the Complaint was originally filed.

        WHEREFORE, Abbott removes this action from the First Judicial District of

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Pennsylvania, Court of Common Pleas of Philadelphia County, to the United States District Court

for the Eastern District of Pennsylvania.


 Dated: October 31, 2024                              Respectfully submitted,



  /s/ Sean P. Fahey                            /s/ Joseph E. O’Neil
  Sean P. Fahey (PA Bar No. 73305)             Joseph E. O’Neil (PA Bar No. 29053)
  TROUTMAN PEPPER HAMILTON                     Ryan J. O’Neil (PA Bar No. 314034)
  SANDERS LLP                                  CAMPBELL CONROY & O’NEIL, P.C.
  3000 Two Logan Square                        1205 Westlakes Drive, Suite 330
  Philadelphia, PA 19103                       Berwyn, PA 19312
  215.981.4296                                 610.964.6388
  Sean.Fahey@troutman.com                      JONeil@campbell-trial-lawyers.com
                                               RONeil@campbell-trial-lawyers.com



  /s/ Ronni E. Fuchs                           /s/ Marques Hillman Richeson
  Ronni E. Fuchs (PA Bar No. 65561)            Marques Hillman Richeson (pro hac vice
  Noël B. Ix (PA Bar No. 70077)                forthcoming)
  TROUTMAN PEPPER HAMILTON                     JONES DAY
  SANDERS LLP                                  901 Lakeside Avenue
  301 Carnegie Center, Suite 400               Cleveland, OH 44114
  Princeton, NJ 08540                          216.586.7195
  609.951.4183                                 mhricheson@jonesday.com
  609.951.4102
  Ronni.Fuchs@troutman.com
  Noel.Ix@troutman.com
                                              Counsel for Abbott Laboratories




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court, and that a copy of the foregoing is being furnished by U.S. Mail and

e-mail to counsel for plaintiff, at the following addresses:

                                   KLINE & SPECTER, P.C.
                                  Thomas R. Klein, Esq. (28895)
                                Tobias L. Millrood, Esq. (77764)
                              Elizabeth A. Crawford, Esq. (313702)
                                Timothy A. Burke, Esq. (320927)
                                  John P. O’Neill, Esq. (205677)
                                   125 Locust Street, 19th Floor
                                     Philadelphia, PA 19102
                                    Telephone: (215) 772-1000
                                 Thomas.kline@klinespecter.com
                                Tobi.millrood@klinespecter.com
                              Elizabeth.crawford@klinespecter.com
                                Timothy.burke@klinespecter.com
                                  Jack.oneill@klinespecter.com

                                  KELLER POSTMAN LLC
                              Benjamin Whiting, Esq. (pro hac vice)
                               150 N. Riverside Plaza, Suite 4100
                                       Chicago, IL 60606
                                   Telephone: (312) 741-5220
                                      Fax: (312) 971-3502
                                ben.whiting@kellerpostman.com

                                        Counsel for Plaintiff




                                                      /s/ Sean P. Fahey
                                                      Sean P. Fahey
